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     FERNANDO AVILA
 6

 7                          IN THE UNITED STATES DISTRICT COURT
 8                       EASTERN DISTRICT OF CALIFORNIA, FRESNO
 9                                             *****
10

11   UNITED STATES OF AMERICA,                   ) Case No.: 10-CR-00287 OWW
                                                 )
12                 Plaintiff,                    ) STIPULATION AND ORDER TO
                                                 )
13         vs.                                   ) CONTINUE DETENTION HEARING
                                                 )
                                                 )
14   FERNANDO AVILA,                             )
15                 Defendant.                    )
                                                 )
16

17         IT IS HEREBY STIPULATED between the Defendant, FERNANDO AVILA, by
18   and through his attorney of record, Anthony P. Capozzi, and Plaintiff, by and through
19   Assistant United States Attorney, Kathleen Servatius that the Detention Hearing now
20   set to begin on Monday, January 31, 2011, at 1:30 p.m. be continued to Monday,
21   February 7, 2011 at 1:30 p.m.
22
           It is further stipulated by the parties that any delay resulting from this
23
     continuance shall be excluded on the following basis:
24
           1.      Title 18, United States Code, Section 3161(h)(7)(A) -- that the ends of justice
25
                   served by taking such action outweighs the best interest of the public and
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                   the defendant in a speedy trial;
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 1                             2.      Title 18, United States Code, Section 3161(h)(7)(ii) -- that it is unreasonable
 2                                     to expect adequate preparation for pre-trial proceedings or for the trial
 3                                     itself with the time limits established due to the complexity of the case.
 4                                                                      Respectfully submitted,
 5

 6   Dated: January 27, 2010                                            /s/ Anthony P. Capozzi
                                                                        Anthony P. Capozzi,
 7
                                                                        Attorney for Defendant,
 8                                                                      FERNANDO AVILA
 9

10   Dated: January 27, 2010
                                                                        /s/ Kathleen Servatius
11                                                                      Kathleen A. Servatius
12
                                                                        Assistant U.S. Attorney

13                                                                 ORDER
14
                               IT IS SO ORDERED. Good cause having been shown, the Detention Hearing now
15
     scheduled to begin on Monday, January 31, 2011 is vacated and is now scheduled to be
16

17   held on Monday, February 7, 2011 at 1:30 p.m.

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19
     IT IS SO ORDERED.
20
                            Dated:     January 27, 2011                      /s/ Oliver W. Wanger
21
     DEAC_Sign ature-END:
                                                                      UNITED STATES DISTRICT JUDGE
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     emm0d64h
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